OPINION — AG — WHILE THE BOARD OF COUNTY COMMISSIONERS IS WITHOUT AUTHORITY TO HIRE A PRACTICAL NURSE (ONE OR MORE) TO LOOK AFTER CASES ANTICIPATED TO PRESENT THEMSELVES IN THE FUTURE, THAT ON THE CONTRARY, WHERE THE PRESENTLY EXISTING CASE LOAD OF "POOR" PERSONS (REASONABLY REQUIRING FULL OR PART TIME NURSING CARE) IS SUFFICIENT TO JUSTIFY THE HIRING OF ONE OR MORE FULL OR PART TIME PRACTICAL NURSES, THAT SAID ARRANGEMENT IS WITHIN THE GRANTED POWERS OF THE BOARD. CITE: 56 O.S.H. 31, 56 O.S.H. 32, ARTICLE XVII, SECTION 3 (JAMES P. GARRETT)